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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES                          *
OF AMERICA,
                                       *
       Plaintiff,
                                       *
       v.                                              CIVIL NO. JKB-17-0099
                                       *
BALTIMORE POLICE
DEPARTMENT, et al.,                    *

       Defendants.                     *


            NOTICE OF APPROVAL OF REVISED POLICIES ADDRESSING
              TRANSPORTATION OF PERSONS IN CUSTODY UNDER
                PARAGRAPHS 223-238 OF THE CONSENT DECREE

       As required by the First-Year Monitoring Plan, see ECF No. 91-1, Row 169, as modified

by several subsequent orders of the Court, see ECF No. 112, 124 & 125, the Baltimore Police

Department Monitoring Team (“Monitoring Team”) hereby notifies the Court that it approves the

following three revised Baltimore Police Department (“BPD”) policies addressing transportation

of persons in custody: Policy 825 (“Transport Vehicle Camera (TVC) System”), Policy 1114

(“Transport of Persons in Police Custody”), and Policy 1511 (“Vehicle Inspection and

Maintenance”). The revisions to these policies are required by Paragraphs 223-238 of the Consent

Decree. See ECF No. 2-2 (as modified by ECF No. 39), ¶¶ 223 – 238. The Department of Justice

has indicated that it concurs in the approval of these policies.

       The revised policies can be accessed at the following links:

            •   Policy     825     (Transport     Vehicle       Camera       (TVC)     System),
                https://www.baltimorepolice.org/825-draft-transport-vehicle-camera-system

            •   Policy    1114     (Transport     of    Persons      in    Police     Custody),
                https://www.baltimorepolice.org/1114-draft-persons-police-custody
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          •   Policy      1511       (Vehicle       Inspection        and       Maintenance),
              https://www.baltimorepolice.org/1511-draft-vehicle-inspection-and-maintenance

      These revised policies are the product of intensive collaboration among BPD, the

Department of Justice (“DOJ”) and the Monitoring Team, and reflect considerable input and

feedback from both community stakeholders and BPD officers.



                                                         Respectfully submitted,


                                                         ___________/s/_______________
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                                                         Seth Rosenthal, Deputy Monitor
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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 24, 2018, copies of the foregoing Notice of Approval of

Revised Policies Addressing Transportation of Persons in Custody under Paragraphs 223 – 238 of

the Consent Decree were served via the Court’s ECF system upon all counsel of record.


                                                          __________/s/___________
                                                          Seth Rosenthal
